
Daniel, J.
It seems to us that the Judge erred in reversing the first judgment, given against Hugh McEl-rath by R. C. Pearson ; for there was no petition nor prayer by Hugh McElrath, that it should be vacated. It was not before the Court. Secondly. Hugh McElreath insisted, that the judgment rendered against him by Walton was erroneous, because he, Walton, had rendered it on the former judgment, which Hugh alleged was void, as having been rendered against him without notice. The Judge, we think, erred in reversing this judgment. The warrant, on which the first judgment was rendered against Hugh McElrath, was returned executed on him by the constable, but the constable neglected to sign his name to his return. We do not think that the judgment rendered by Pearson was void. If it was erroneous, until it was reversed for error, it was good evidence, for Walton to render the second judgment on. We think that the judgment of the Superior Court must be reversed, and judgment on the recordari entered for the original plaintiff, Butler.
Per Curiam. Judgment accordingly.
